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IN THE UNITED sTA'rF.s nIsTRIc'r coURT F“‘ED BY
FoR THE wEsTERN DISTRICT oF TENNESSEE
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U`NITED STATES OF AMERICA
Plaintiff,
VS. CR. NO. 04-20485-D

YVONNE PATTERSON
Defendant .

v~._p~.,\.r-.¢-\._r~_»\.»\.._.¢~._¢

 

oRDER oN cHANGE oF PLEA
AND SETTING

 

This cause came to be heard on August l, 2005, the United States
Attorney for this district, Valeria Rae Oliver, appearing for the Government
and the defendant, Yvonne Patterson, appearing in person and with counsel,
Pamela B. Hamrin, who represented the defendant. `

With leave of the Court, the defendant withdrew the not guilty plea
heretofore entered and entered a plea of guilty to Count l of the
Indictment.

Count 2 shall be dismissed at the Sentencing Hearing.

Plea colloquy was held and the Court accepted the guilty plea.

SENTENCING in this case is SET for WEDNESDAY, NO‘V'EM!BER 2, 2005, at
5:00 P.M., in Courtroom No. 3, on the 9“h floor before J*udga Bern:l.ce B.
Donald.

Defendant is allowed to remain released on present bond.

ENTEIRED this theq‘i day of August, 2005.

Q°ZQ@ /£/Q

UNITED STATES DISTRICT JUDGE

 

This document entered on the docket sheet in commisan

with Ru|e 55 and/or 32(b) FRCrP on ¢§ 571-9 5__4

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 56 in
case 2:04-CR-20485 Was distributed by faX, mail, or direct printing on
August 8, 2005 to the parties listed.

 

 

Pamela B. Hamrin

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Honorable Bernice Donald
US DISTRICT COURT

